     Case 2:14-cr-00021-RMP     ECF No. 685    filed 05/20/14   PageID.1965 Page 1 of 1




 1
 2
 3
                          UNITED STATES DISTRICT COURT
 4
                        EASTERN DISTRICT OF WASHINGTON
 5
 6
     UNITED STATES OF AMERICA,                     No. 2:14-CR-021-RMP-28
 7
 8                     Plaintiff,                  ORDER GRANTING MOTION TO
                                                   EXPEDITE AND DENYING
 9 vs.                                             MOTION TO MODIFY
10                                                 CONDITIONS OF RELEASE
   SEAN L. LAMBERT,
11
12                     Defendant.
13         Before the Court is Defendant’s Motion to Modify Conditions of Release,
14   ECF No. 683, and Motion to Expedite, ECF No. 684.                 Defendant seeks
15   modification of his release conditions so he may assist in the care of his mother
16   while she recovers from surgery.
17         Defendant’s Motion to Expedite, ECF No. 684, is GRANTED.
18   Defendant’s Motion to Modify, ECF No. 683, is DENIED.
19         IT IS SO ORDERED.
20         DATED May 20, 2014.
21
22                                  _____________________________________
                                              JOHN T. RODGERS
23                                   UNITED STATES MAGISTRATE JUDGE
24
25
26
27
28



     ORDER - 1
